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12

13                            UNITED STATES DISTRICT COURT

14                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

15    UNITED STATES OF AMERICA,                No. CV 18-00670-SJO (GJSx)

16               Plaintiff,                    GOVERNMENT’S RESPONSE IN
                                               OPPOSITION TO CLAIMANT’S MOTION
17                     v.                      FOR RECONSIDERATION OF THIS
                                               COURT’S ORDER STRIKING CLAIMANT’S
18    $148,145.00 IN U.S. CURRENCY,            CLAIM;

19              Defendant.
      ________________________________         Hearing Date:     January 7, 2018
20    ROBERT SHUMAKE,                          Hearing Time:     10:00 a.m.
                                               Ctrm:             10C
21               Claimant                                        Hon. S. James Otero

22

23

24          Plaintiff United States of America (“government”) hereby submits
25    its response in opposition to Robert Shumake’s (“Claimant”)
26    Memorandum of Law In Support of Motion to for Reconsideration of this
27    Court’s Order Striking Claimant’s Claim (Doc. 60-1 (“Motion for
28    Reconsideration”)).      In opposition to this Court’s Order Granting
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 1    Plaintiff’s Motion to Strike (Doc. 59 (“Order to Strike”)), Claimant

 2    argues that he “NEVER made an administrative claim of OWNERSHIP on

 3    behalf IHRC.”     (Doc. 60-1, at 1, emphasis in original).         This is

 4    simply not true and defies the plain language found in the Drug

 5    Enforcement Administration’s (“DEA”) Seized Asset Claim Form

 6    (“administrative claim,” attached hereto as exhibit A) that Claimant

 7    made a claim of ownership on behalf of the International Human Rights

 8    Commission (“IHRC”).

 9            In addition, Claimant argues that the administrative claim does

10    not preclude him from asserting a judicial claim.           The government

11    agrees.    However, as pointed out below, this argument is irrelevant

12    and has no bearing on this Court’s determination in its Order to

13    Strike.

14    I.      THE PLAIN LANGUAGE FOUND IN THE ADMINISTRATIVE CLAIM MAKES IT
              CLEAR THAT CLAIMANT MADE A CLAIM OF OWNERSHIP ON BEHALF OF IHRC
15
              The language found in the administrative claim cannot be any
16
      clearer.    As the government described in its Reply In Support of
17
      Notice of Motion and Motion to Strike Claim and Answer of Robert
18
      Shumake (“Motion to Strike Claim”) (Doc. 57, at 2), and, in the Order
19
      to Strike, this Court correctly found that Claimant signed on behalf
20
      of IHRC.    (See Doc. 38, at 1).
21
              This is also supported by the fact that PART II of the
22
      administrative claim asks the Claimant to “State your interest in
23
      each asset listed and explain why you believe the property belongs to
24
      you.”     (Doc. 38, at 1 (emphasis added)).      Nowhere in the
25
      administrative claim does Claimant purport to have any personal
26
      interest in the property.       All of Claimant’s statements regarding the
27
      property support the conclusion, that this Court reached in its
28

                                              2
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 1    ruling, that is, Claimant does not have any actual ownership interest

 2    in the property.

 3            In fact, under subsection 1 of PART II of the administrative

 4    claim, titled “Interest in Property,” Claimant’s response was:

 5    “Charitable donations given in support the International Human Rights

 6    Commission.”    (Exhibit A, at 1).      Claimant makes no assertion that

 7    these charitable contributions were given to Claimant.           Nor does

 8    Claimant suggest anyone else, other than IHRC, was the beneficiary of

 9    such contributions.      “Claimant unequivocally claimed the Defendant

10    Currency as an agent of IHRC, not as an individual.”           (Doc. 59, at

11    4).

12            Claimant argues, “[t]here is no law or statute or legal

13    authority that says Shumake cannot make a claim of possessory or

14    beneficial interest on behalf of IHRC, which is perfectly legal to

15    do.”    (Doc. 60-1, at 2).    Indeed, this is exactly what the government

16    argues that Claimant did here, and this is exactly what this Court

17    found, that Claimant only described IHRC as having any interest in

18    the property.

19            The language included in the DEA administrative claim, coupled

20    with Claimant’s responses, establish that Claimant did, in fact,

21    assert that IHRC owned the defendant property.          To suggest otherwise,

22    as Claimant does here, is contradictory (and would lead to absurd

23    results, both legal and otherwise).         As this Court found, Claimant

24    “does not contest the he swore, under penalty of perjury to be

25    claiming the Defendant Currency.”        (Doc. 59, at 3).     As such, this

26    Court made no error (and was justified) in concluding that Claimant

27    claimed the defendant property not for himself, but on behalf of the

28    IHRC.    (See id. at 6).
                                              3
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 1    II.    CLAIMANT FAILED TO ESTABLISH STANDING TO CONTEST FORFEITURE DUE
             TO THE INCONSISTENCY OF HIS CLAIMS
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             Claimant’s assertion that “ANY PERSON may file a Judicial Claim
 3
      alleging any interest that person wishes to allege, not just those
 4
      who filed an Administrative Claim,” (Doc. 60-1, at 3, emphasis in
 5
      original) is completely irrelevant.         Nearly half of Claimant’s Motion
 6
      for Reconsideration is dedicated to this uncontested point, and it is
 7
      merely an attempt at misdirection.          The government agrees that
 8
      Claimant has the right to file a judicial claim, irrespective of an
 9
      existing related administrative claim, which is exactly what Claimant
10
      did.   Neither the government nor the Court ever suggested that
11
      Claimant’s Administrative Claim precluded his bringing a judicial
12
      claim.
13
             Claimant simply ignores the inconsistencies of his responses in
14
      the administrative claim and judicial claim (both of which were
15
      prepared by an attorney with knowledge of the matter), which were the
16
      basis of this Court’s order.       As this Court found, “Claimant’s
17
      administrative and judicial claims ... relate to the same Defendant
18
      currency ... [and] the two claims directly conflict.”           (Doc. 59, at
19
      6).    Irrespective of this Court’s findings that Claimant’s “answers
20
      to special interrogatories [were] self-serving, and ... legal
21
      arguments [were] without merit,” Claimant failed to assert the
22
      perquisite requirement of standing to bring a judicial claim before
23
      the district court.
24
             As such, this Court was correct to strike Claimant’s Claim and
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      Related Answer.
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 1    III. CONCLUSION
 2          Claimant’s arguments are without merit and irrelevant with

 3    respect to this Court’s Order to Strike.         For the reasons stated

 4    above, the government respectfully requests this Court deny

 5    Claimant’s Motion for Reconsideration.

 6     Dated: December 6, 2018              Respectfully submitted,

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